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12   Z.W., C.Y, X.Y., A.G., M.X., Z.L., W.R.,
     and DOES 1 through 50
13
14                             UNITED STATES DISTRICT COURT
15                            CENTRAL DISTRICT OF CALIFORNIA
16                        SOUTHERN DIVISION AT SANTA ANA
17
18   Z.W., C.Y, X.Y., A.G., M.X., Z.L., W.R.,     Case No. 8:20-CV-01220 CJC (KESx)
     and DOES 1 through 50,
19                                                Assigned to: Hon. Cormac J. Carney
                 Plaintiff,                       Magistrate Judge: Karen E. Scott
20
           vs.                               NOTICE OF WITHDRAWAL OF
21                                           PLAINTIFFS’ NOTICE OF EX
     U.S. DEPARTMENT OF HOMELAND             PARTE APPLICATION AND EX
22   SECURITY; U.S. IMMIGRATION AND PARTE APPLICATION TO PROCEED
     CUSTOMS ENFORCEMENT; CHAD R. UNDER FICTITIOUS NAMES AND
23   WOLF, Acting Secretary, U.S. Department FOR LEAVE TO FILE UNDER SEAL
     of Homeland Security; MATTHEW           PORTIONS OF THE DECLARATION
24   ALBENCE, Acting Director, U.S.          OF STACY HORTH-NEUBERT, AND
     Immigration and Customs Enforcement,    DECLARATIONS OF WILLIAM
25                                           LACKER AND STACY HORTH-
                 Defendant.                  NEUBERT IN SUPPORT THEREOF
26                                           (Doc. Nos. 9, 10, 11)
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 1         TO THE HONORABLE CORMAC CARNEY, UNITED STATES DISTRICT
 2   COURT JUDGE, AND ALL INTERESTED PARTIES:
 3         PLEASE TAKE NOTICE that, at the instruction of the ECF Help Desk and
 4   Court Clerk to Judge Carney, Plaintiffs Z.W., C.Y, X.Y., A.G., M.X., Z.L., W.R., and
 5   DOES 1 through 50 hereby withdraw the following documents, which will be refiled
 6   using the ECF filing option instructed by the ECF clerk:
 7         Document No. 9 – Ex-Parte Application to Proceed Under Fictitious Names and
 8   For Leave to File Under Seal Portions of the Declaration of Stacy Horth-Neubert;
 9         Document No. 10 – Declaration of William Lacker in Support of Ex Parte
10   Application to Proceed Under Fictitious Names;
11         Document No. 11 – Declaration of Stacy Horth-Neubert in Support of Ex Parte
12   Application to Proceed Under Fictitious Names and For Leave to File Under Seal
13   Portions of the Declaration of Stacy Horth-Neubert (Redacted Version).
14         The corrected documents will be refiled under the “sealed document” ECF
15   option, as instructed by the Help Desk.
16
17    DATED: July 13, 2020                     By: /s/ Stacy Horth-Neubert*
                                                     Lisa M. Gilford
18                                                   David R. Carpenter
19                                                   Stacy Horth-Neubert
                                                     Sheri Porath Rockwell
20                                                   SIDLEY AUSTIN LLP
21
                                               By: /s/ Mark D. Rosenbaum
22                                                   Mark D. Rosenbaum
23                                                   PUBLIC COUNSEL

24
                                               By: /s/ Evan Caminker
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26                                                   Collegiate Professor of Law
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28

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 6                                             through 50

 7
     * Filer attests that all signatories listed, and on whose behalf the filing is submitted,
 8   concur in the filing’s content and have authorized the filing.
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